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                                                                                                                                       JS-3
                                                          United States District Court
                                                          Central District of California
                                                                     AMENDED
 UNITED STATES OF AMERICA vs.                                                   Docket No.             2:19-cr-00282-RGK-5

 Defendant           PERFECTUS ALUMINIUM INC.                                   Social Security No. N        O     N      E
 akas:   PERFECTUS ALUMINUM, INC.                                               (Last 4 digits)




                                                                                                                        MONTH       DAY       YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.        APR           11      2022

  COUNSEL                                                                  Robert Ruyak, retained
                                                                               (Name of Counsel)

    PLEA                GUILTY, and the court being satisfied that there is a factual basis for the plea.            NOLO                      NOT
                                                                                                                  CONTENDERE                  GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Conspiracy, in violation of 18 U.S.C. §371, as charged in Count 1(one) of the Indictment;

                     Wire Fraud, Aiding and Abetting and Causing an Act to be Done, in violation of 18 U.S.C. §1343 and 18 U.S.C. §2, as charged in
                     Counts 2 (two), 3 (three), 4 (four), 5(five), 6 (six), 7 (seven), 8 (eight), 9 (nine), and 10 (ten) of the Indictment;

                     Passing False and Fraudulent Papers Through Customhouse, Aiding and Abetting and Causing an Act to be Done, in violation of
                     18 U.S.C. § 545 and 18 U.S.C. § 2(a), as charged in Counts 11 (eleven), 12 (twelve), 13 (thirteen), 14 (fourteen), 15 (fifteen), 16
                     (sixteen) and 17 (seventeen) of the Indictment; and

                     International Promotional Money Laundering, Aiding and Abetting and Causing an Act to be Done, in violation of 18 U.S.C. §
                     1956(a)(2)(A) and 18 U.S.C. § 2, as charged in Counts 18 (eighteen), 19 (nineteen), 20 (twenty), 21 (twenty-one), 22 (twenty-two), 23
                     (twenty-three) and 24 (twenty-four) of the indictment.

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant organization, Perfectus
  ORDER              Aluminium Inc., is hereby placed on PROBATION on Counts 1(one) through 24 (twenty-four) of the Indictment for a term
                     of 5(five) YEARS. This term consists of five years on each of Counts 1 (one) through 24 (twenty-four) of the Indictment,
                     all such terms to run concurrently under the following terms and conditions:

         1.          As Second Amended General Order 20-04 applies to individuals, it shall be deleted from the original Court order.

         2.          During the period of community supervision, defendant Perfectus Aluminium Inc. shall pay the special assessment
                     and restitution in accordance with this judgment's orders pertaining to such payment.

         3.          Defendant Perfectus Aluminium Inc. shall not commit another federal, state or local crime.

         4.          Defendant Perfectus Aluminium Inc. shall provide the Probation Officer access to any requested financial information.

         5.          Within 30 days from the date of this judgment, defendant Perfectus Aluminium Inc. shall designate an official of the
                     organization to act as defendant Perfectus Aluminium Inc.'s representative and to be the primary contact with the
                     Probation Officer.

         6.          Defendant Perfectus Aluminium Inc. shall answer truthfully all inquiries by the Probation Officer and follow the
                     instructions of the Probation Officer.


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         7.          Defendant Perfectus Aluminium Inc. shall notify the Probation Officer ten days prior to any change in the principal
                     business or mailing address or within 72 hours if advance notice is not possible.

         8.          Defendant Perfectus Aluminium Inc. shall permit a Probation Officer to visit the organization at any of its operating
                     business sites.

         9.          Defendant Perfectus Aluminium Inc. shall report to the Probation Officer as directed and shall submit a truthful and
                     complete written report within the first five days of each month.

         10.         Defendant Perfectus Aluminium Inc. shall be required to notify the Court or Probation Officer immediately upon
                     learning of (A) any material adverse change in its business or financial condition or prospects, or (B) the
                     commencement of any bankruptcy proceeding, major civil litigation, criminal prosecution, or administrative
                     proceeding against the organization, or any investigation or formal inquiry by government authorities regarding the
                     organization.

         11.         Defendant Perfectus Aluminium Inc. shall notify the Probation Officer immediately of any intent to sell the
                     organization, change the name of the organization, merge with another business entity, or otherwise dissolve and/or
                     modify, in any form or manner, the organizational structure from its present status.

         12.         Defendant Perfectus Aluminium Inc. shall apply all monies received from income tax refunds to the outstanding
                     Court-ordered financial obligation. In addition, defendant Perfectus Aluminium Inc. shall apply all monies received
                     from lottery winnings, inheritance, judgments and any anticipated or unexpected financial gains to the outstanding
                     Court-ordered financial obligation.

         13.         If defendant Perfectus Aluminium Inc. changes its name, or merges with another company through a stock or assets
                     purchase, or sells or transfers all or substantially all of its business operations as they exist as of the date of conviction,
                     the renamed, newly-created, transferred, sold, or merged company shall be obliged to meet all of the obligations of
                     defendant Perfectus Aluminium Inc. in accordance with this judgment's orders pertaining to payment of restitution
                     and the special assessment. Defendant Perfectus Aluminium Inc. shall include in any contract for sale, merger, or
                     transfer a provision fully binding the purchaser(s) or any successor(s) in interest thereto the obligations described in
                     the Court-ordered conditions of probation.

It is ordered that defendant Perfectus Aluminium Inc. shall pay to the United States a special assessment of $9,600, which is due
immediately.

It is ordered that defendant Perfectus Aluminium Inc. shall pay restitution in the total amount of $1,836,244,5.00, pursuant to 18
U.S.C. § 3663A. The amount of restitution ordered shall be paid to: Customs and Border Protection.

Defendant Perfectus Aluminium Inc. shall make nominal monthly payments of at least 10% of defendant Perfectus Aluminium Inc.’s
gross revenue, but not less than $100, whichever is greater, during the term of probation. Payments shall begin 30 days after the
commencement of supervision. Nominal restitution payments are ordered as the Court finds that defendant Perfectus Aluminium Inc.'s
economic circumstances do not allow for either immediate or future payment of the amount ordered. An initial partial payment of
$60,141,984.29 is due within 90 days.

Defendant Perfectus Aluminium Inc. shall be held jointly and severally liable with convicted co-defendants, Perfectus Aluminum
Acquisitions, LLC; Scuderia Development, LLC; 1001 Doubleday, LLC; Von-Karman - Main Street, LLC; and 10681 Production
Avenue, LLC for the amount of restitution ordered in this judgment. The victims' recovery is limited to the amount of their loss and
Defendant Perfectus Aluminium Inc.'s liability for restitution ceases if and when the victims receive full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because Defendant Perfectus Aluminium Inc. does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that defendant Perfectus Aluminium Inc. has established that
it is unable to pay and is not likely to become able to pay any fine in addition to restitution.
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The Court has found that the property identified in the preliminary order of forfeiture is subject to forfeiture. The preliminary order
is incorporated by reference into this judgment and is final.

Defendant Perfectus Aluminium Inc. advised of its right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




             April 29, 2022
            Date                                                               R. Gary
                                                                               R     yKKlausner,       States District Judge
                                                                                        lausner United St

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                               Clerk, U.S. District Court


             April 29, 2022                                          By        /s/ Joseph Remigio
            Filed Date                                                         Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE
                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local                9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                              in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal                    convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a                   officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                          the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                        that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by                  rehabilitation;
       the court or probation officer;                                               10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                        purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation                    controlled substance, or any paraphernalia related to such substances,
       officer;                                                                            except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation           11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment                   arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;                  12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation                   destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before         13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                       enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;                     permission of the court;
 7.    The defendant must permit the probation officer to contact him or             14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation                   implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and                 criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                                    defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by                    vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable                  most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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              The defendant must also comply with the following special conditions (set forth below).
       X      STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS
                        The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless
 the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may
 be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are
 not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified
 check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and
 number. Payments must be delivered to:
           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012
 or such other address as the Court may in future direct.
           If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.
           The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).
           The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).
           Payments will be applied in the following order:
                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS
           As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.
           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




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                                               FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.
         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

         (Signed)
                     Defendant                                                    Date



                     U. S. Probation Officer/Designated Witness                   Date




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